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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                   CASE NO.: 0:22-CV-61645-BB
 HOWARD COHAN,

        Plaintiff,

 vs.

 FOILED BY THE BURGER L.L.C.
 a Florida Limited Liability Company
 d/b/a BURGERFI

       Defendant(s).
 ____________________________________/
                           NOTICE OF SETTLEMENT

        The Plaintiff, HOWARD COHAN and the Defendant, FOILED BY THE BURGER

 L.L.C., a Florida Limited Liability Company, d/b/a BURGERFI, (the Parties) by and through their

 undersigned counsel, hereby notify the Court that the instant action has settled. Accordingly, the

 Parties expect to file a stipulation of dismissal within thirty (30) days and should not be required

 to file any further responses, motions, and/or pleadings.

        RESPECTFULLY SUBMITTED November 21, 2022.

  By: /s/ Gregory S. Sconzo                        By: s/ Justin C. Sorel
  Gregory S. Sconzo, Esq.                          JUSTIN C. SOREL
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  Attorneys for Plaintiff



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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 21, 2022, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on counsel of record in this action via transmission of Notices of Electronic

 Filing generated by CM/ECF.

                                                       _ /s/ Gregory S. Sconzo
                                                       Gregory S. Sconzo, Esq.




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